    Case 6:07-cr-00031-WTM-GRS Document 526 Filed 12/05/08 Page 1 of 1



                  IN THE UNITED STATES DX STRICT COURT FOR
                      THE SOUTHERN DISTRICT OF GEORGIA
                             STATESBORO DIVISION

UNITED STATES OF AMERICA


                                        CASE NO. CRGO7-031
WOODARD HOOK LEWIS, Jr.,

     Defendant.


                                 ORDER

     Before the Court is Defendant Lewis's Motion for Leave to Attend

Funeral. (Doc. 524.) Defendant asks the he be allowed a furlough from

the Bulloch County Jail on December 6, 2008 to attend his cousin's

funeral in Bulloch County. Neither the Government nor the United

States Probation Office opposes this request.                After. careful
consideration, Defendant's Motion is GRAI'TED, subject to the following

conditions. Defendant shall be released from the Bulloch County Jail

on Saturday, December 6, 2008 so that he may attend the funeral.

Immediately following the funeral, but no later than four (4) hours

after his release, Defendant shall return to the Bulloch County Jail.

Defendant shall be responsible for arranging his own transportation.

Once released, Defendant, without any deviation or variance of any

kind, shall go directly from the jail to the funeral and, upon its

conclusion, return directly from the funeral to the jail.

     SO ORDERED this         day of December, 2008.




                                  WILLIAM T. MOORE, JR., HIEF JUDGE
                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF GEORGIA
